               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL CASE NO. 1:23-cv-00118-MR-WCM


MEDICAL SEARCH CONSULTANTS       )
LLC,                             )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                   ORDER
                                 )
PASTURE GATE HOLDINGS, INC.,     )
PYXIS NYF LLC, MICHAEL ROBERT )
DUNMIRE, and DENISE MARIE        )
DUNMIRE,                         )
                                 )
                   Defendants.   )
________________________________ )

       THIS MATTER is before the Court on the Plaintiff’s Status Report [Doc.

51].

       On May 5, 2023, the Plaintiff Medical Search Consultants, LLC (“MSC”)

filed a Verified Complaint for Injunctive Relief and Damages against Pasture

Gate Holdings, Inc. (“Pasture Gate”), Pyxis NYF LLC (“Pyxis”), Michael

Robert Dunmire (“Michael Dunmire”), and Denise Marie Dunmire (“Denise

Dunmire”) (collectively, “Defendants”). [Doc. 1]. On May 8, 2023, MSC filed

a First Amended Verified Complaint for Injunctive Relief and Damages (the

“Amended Complaint”), along with a Motion for Temporary Restraining

Order. [Docs. 4, 5, 6].


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     On May 10, 2023, the Court granted in part and denied in part MSC’s

Motion for Temporary Restraining Order and set a deadline by which MSC

was to file a motion for a preliminary injunction, in the event MSC wished to

pursue such relief. [Doc. 15]. On May 24, 2023, MSC filed an Uncontested

Motion for Preliminary Injunction. [Doc. 27]. That motion was granted, and

a preliminary injunction was entered on May 25, 2023. [Doc. 28].

     On June 13, 2023, the Defendants Pasture Gate and Michael Dunmire

submitted a Demand for Arbitration to the American Arbitration Association,

seeking to commence arbitration proceedings (the “Arbitration”) against

MSC and its Chief Executive Officer, Nadia Gruzd (“Gruzd”). [See Doc. 36-

2 at 2-9]. On June 29, 2023, MSC and Gruzd filed Objections, an Answering

Statement, and Counterclaims in the Arbitration. [Doc. 36-2 at 10-34].

     On July 24, 2023, all four Defendants filed an Answer to the Amended

Complaint. [Doc. 33]. On August 15, 2023, the parties filed a Joint

Certification of Initial Attorneys’ Conference and Discovery Plan. [Doc. 34].

Shortly thereafter, however, the Defendants moved to stay these

proceedings pending completion of the arbitration between MSC, Gruzd,

Pasture Gate, and Michael Dunmire. [Docs. 35, 36]. The Magistrate Judge

granted the Defendants’ motion and stayed the proceedings. [Doc. 42].


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      On November 20, 2023, the Arbitrator dismissed all claims asserted by

Pasture Gate and Michael Dunmire against Gruzd in her individual capacity

in the Arbitration without prejudice. [See Doc. 50-1: Final Arbitration Award

at 17 n.26]. On April 12, 2024, the Arbitrator denied Pasture Gate and

Michael Dunmire’s request to join All MedSearch, LLC (“AMS”), an affiliate

of MSC, without prejudice to Pasture Gate and Michael Dunmire seeking or

pursing relief against AMS in another forum.1 [Id. at 9 n.13].

      The Final Hearing was conducted by the Arbitrator on May 7, 2024 and

concluded on May 13, 2024 in Orange County, California. [Id. at 3]. On

September 6, 2024, the Arbitrator issued the Final Award in the Arbitration,

finding that MSC prevailed on its claim for breach of contract against Pature

Gate and Michael Dunmire; denying MSC’s claims for violation of state and

federal trade secret laws; denying without prejudice MSC’s request for

injunctive relief; and declaring MSC as the prevailing party and awarding it

damages and attorney’s fees and costs, while denying all of Pasture Gate

and Michael Dunmire’s claims. [Id. at 34-35].




1 On May 20, 2024, Pasture Gate and Michael Dunmire filed a complaint against AMS

and Gruzd in the United States District Court for the Southern District of California as
Case No. 24-cv-00886-L-MMP.
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      On October 10, 2024, this Court ordered the parties to file a Joint

Status Report by November 12, 2024, informing the Court of what, if

anything, remains to be litigated in this action. [Text-Only Order entered Oct.

10, 2024]. On November 13, 2024, MSC filed a Status Report—without final

approval from the Defendants’ counsel—indicating that the parties are in

agreement that there remains nothing for the Court to resolve as to the

claims against Pasture Gate and Michael Dunmire2, but that they disagree

as to the claims against Defendants Denise Dunmire and Pyxis. Accordingly,

MSC proposes that this Court “allow further briefing by the parties of what, if

anything, remains to be litigated in this action….” [Doc. 51 at 2].

      The Court declines to order any further briefing. In light of MSC’s

report, the Court will lift the stay of this matter and direct the parties to

conduct a new initial attorneys’ conference and file a joint certification of initial

attorneys’ conference and discovery plan within fourteen (14) days of this

Order.

      IT IS, THEREFORE, ORDERED that, within fourteen (14) days of the

entry of this Order, the parties shall conduct a new initial attorneys’



2 MSC represents that it seeks to have the arbitration award confirmed.




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conference and file a joint certification of initial attorneys’ conference and

discovery plan with the Court.

      IT IS SO ORDERED.
                             Signed: November 19, 2024




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